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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WISCONSIN



CONSUELA SMITH-WILLIAMS,
FRED RIVERS, RICHARD MURPHY,
ROBERT RISTOW, ROGER SUHR,
and SALVADOR FUENTES, individually,
and on behalf of all similarly situated,

                        Plaintiffs,                          Case No.: 17-CV-823


v.

THE UNITED STATES OF AMERICA,

                  Defendant.
___________________________________/

                         PLAINTIFFS’ MEMORANDUM IN OPPOSITION
                           TO DEFENDANT’S MOTION TO DISMISS

          The Plaintiffs, Consuela Smith-Williams, Fred Rivers, Richard Murphy, Robert Ristow,

 Roger Suhr and Salvador Fuentes, individually and on behalf of all similarly situated, and by

 and through their undersigned counsel, hereby file this Memorandum in Opposition to the

 Defendant’s Motion to Dismiss, and state as follows:

                                                Introduction

 1. For over a year, between October 5, 2015 and October 21, 2016, the Defendant’s employee,

      Dr. Schiller, exposed hundreds of veterans, the Plaintiffs and Putative Class Members, to the

      risk of infection with Hepatitis B, Hepatitis C, and HIV during their dental procedures. D.E.1

      at 3.

 2.   Dr. Schiller failed to observe basic infection control practices such as hand washing, failed

      to wear personal protective equipment, and re-used dental burs meant for single use on

      multiple patients. Id.

 3. These actions constituted breaches of established infection control standards established by

      the American Dental Association, the Occupational Safety and Health Administration, the
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   Center for Disease Control and Prevention, and the Department of Veteran’s Affairs. D.E. 1

   at 1.

4. When the Tomah facility managers finally learned of these ongoing breaches, they initiated a

   risk assessment and consulted with “infection control experts.” Id at 4, Exhibit C.

5. It was determined that the patients were at risk of having been infected with deadly viruses

   such as Hepatitis B, Hepatitis C, and HIV. Id.

6. The Defendant sent a notification letter to each of these veterans admitting that infection

   control standards were breached. Id. “This letter is to inform you that established infection

   control practices were not being followed by the dentist that treated you.” Id.

7. The notification advised them that they were at risk of having been infected with Hepatitis B,

   Hepatitis C, and HIV. Id. “The laboratory tests we are recommending you be tested for

   include the Hepatitis B virus, Hepatitis C virus, and the Human Immunodeficiency Virus

   (HIV).” Id.

8. The Defendant warned the Plaintiffs and the Putative Class Members that they should come

   in for blood testing as soon as possible. Id. “We encourage you to come in to have the

   recommended lab tests completed as soon as possible.” Id.

9. The Defendant knew that this information would cause the Plaintiffs and Putative Class

   Members to suffer emotional distress. Id. “As the Acting Medical Center Director, let me

   sincerely apologize for the concern that this notification may bring to you and your family.”

   Id.

10. Thereafter the Plaintiffs and the Putative Class Members underwent blood testing and

   received blood test results indicating that they had not been infected with a virus during their

   dental procedure. D.E. 1 at 4-5.



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11. From the time the Plaintiffs and the Putative Class Members received the notification letter

   until they received their blood test results indicating that they had not been infected with a

   deadly virus, they were forced to consider that they may have been infected with deadly

   viruses, may die as a result of having been infected, and/or may have unknowingly infected

   their loved ones with deadly viruses. D.E. 1 at 5.

12. On April 24, 2017, the Plaintiffs presented their administrative claim forms and written

   notification of a class claim seeking recovery on behalf of themselves and on behalf of their

   fellow veteran class members. See D.E. 1 Exhibit B.

13. The written notification provided by the Plaintiffs included a description of the incident, a

   demand for a sum certain, and advised the Defendant that the claim was being asserted on

   their behalf and on behalf of the Putative Class Members they sought to represent. See D.E. 1

   Exhibit A at 1-2.

14. The Plaintiffs’ written notification advised the Defendant that it knew the identity of each

   Putative Class Member, and had contact information for each Putative Class Member, as it

   previously sent each of them a letter notifying them that they may have been infected with a

   deadly virus. See Id Exhibit C.

15. The Plaintiffs also advised the Defendant that it was, and is, in possession of all of the

   Plaintiffs and Putative Class Members’ medical records. See D.E. 1 Exhibit A at 1-2.

16. The Defendant failed to respond to the Plaintiffs and Putative Class Members’ claims within

   six months. See D.E. 1 at 2.

17. On November 1, 2017, Plaintiffs filed this action against the Defendant under the Federal

   Tort Claims Act seeking damages for negligent infliction of emotional distress. See D.E. 1.

18. On January 19, 2018, the Defendant filed its Motion to Dismiss the Plaintiff’s Complaint

   pursuant to Fed. R. Civ. P. 12(b)(6), to which the Plaintiffs now respond. See D.E. 9.

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                                       Memorandum of Law

        A motion to dismiss pursuant to Rule 12(b)(6) challenges the viability of a complaint by

arguing that it fails to state a claim upon which relief may be granted. See Firestone Financial

Corp. v. Meyer, 796 F.3d 822, 825 (7th Cir. 2015). A plaintiff must articulate “enough facts to

state a claim to relief that is plausible on its face.” See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged. Id. When analyzing the sufficiency of a

complaint, the Court construes it in the light most favorable to the plaintiff, accepts well-pleaded

facts as true, and draws all inferences in the plaintiff's favor. See Estate of Davis v. Wells Fargo

Bank, 633 F.3d 529, 533 (7th Cir. 2011). To state a claim, a complaint must first provide “ a short

and plain statement of the claim showing that the pleader is entitled to relief.” See Bonnstetter v.

City of Chicago, 811 F.3d 969 (7th Cir. 2016). The statement of the claim must sufficiently give

fair notice of what the…claim is and the grounds upon which it rests” to the defendants. Id (citing

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)).

                                             Argument

       In its Motion to Dismiss, the Defendant argues that the Plaintiffs’ negligent infliction of

emotional distress claims are not cognizable claims under Wisconsin law. D.E. 9 at 8. This is an

incorrect statement of the law. Negligent infliction of emotional distress claims are recognized in

this State. See Camp ex rel. Peterson v. Anderson, 2006 WI App 170, 295 Wis. 2d 714, 721

N.W.2d 146 providing: “…negligent infliction of emotional distress is an actionable tort in

Wisconsin…” Id. 295 Wis. 2d at 726. See also Leibhart v. SPX Corporation, 2017 WL 5054730

(W.D. Wis. 2017) providing: “Plaintiffs suing for negligent infliction of emotional distress must

prove the same elements as any other negligence claim.”

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I. The Plaintiffs have stated a claim for Negligent Infliction of Emotional Distress.

       To set forth an actionable claim of negligence in Wisconsin, plaintiffs must establish four

elements: (1) a duty of ordinary care owed by the defendant, (2) breach of that duty, (3)

causation, and (4) actual loss or damage. See Jackson v. McKay-Davis Funeral Home et al., 830

F. Supp. 635, 654 (E.D. Wis. 2011). See also Bowen v. Lumbermens Mut. Cas. Co., 183 Wis. 2d

627, 517 N.W.2d 432 (1994), holding that a plaintiff claiming negligent infliction of emotional

distress must prove these elements regardless of the fact situation in which the claim arises

(emphasis added). Id at 632. Plaintiffs suing for negligent infliction of emotional distress under

Wisconsin law must also prove that their emotional distress was severe. Liebhart at *5 citing

Terry v. Journal Broadcast Corp., 2013 WI App 130, 351 Wis. 2d 479, 514, 840 N.W.2d 255.

       In their Complaint, the Plaintiffs allege: (1) that the Defendant owed the Plaintiffs and the

Putative Class Members a duty to use the degree of skill, care and judgment which a reasonable

healthcare provider would use; (2) that the Defendant breached its duty by failing to use the

requisite degree of care and skill, and by: (i) using unsterile dental equipment, (ii) failing to

observe basic infection control practices such as hand washing, (iii) breaching infection control

standards, and by; (iv) failing to adequately train and supervise its employees; (3) that the

Plaintiffs and Class Members’ injuries were as a direct and proximate result of the Defendant’s

negligent conduct, and; (4) that the Plaintiffs suffered severe emotional distress as they were

forced to consider that they might die from a deadly virus or may have unknowingly infected

their loved ones. D.E. 1. The Plaintiffs have thus alleged all that is required to state a claim for

negligent infliction of emotional distress in Wisconsin.

       Because the Defendant’s negligence is so apparent in his case, it argues that even if

negligence is found, the Court should bar the Plaintiffs’ claims based on public policy. D.E. 9 at

9. Because Wisconsin follows the universal duty formula of the dissent in Palsgraf v. Long

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Island Railroad, 248 N.Y. 339, 162 N.E. 99 (1928), the concepts of foreseeability and duty place

no limits on the scope of a defendant's liability. Bowen at 644 (citing Observe v. Montgomery,

203 Wis. 223, 234 N.W. 372 (1931)). In fact, "once it has been determined that a negligent act

has been committed and the act is a substantial factor in causing the harm, the question of duty is

irrelevant and a finding of non-liability can be made only in terms of public policy." Rockweit by

Donahue v. Senecal, 197 Wis. 2d 409, 425, 541 N.W.2d 742, 749 (1995).

       There is no reason for a public policy or legal cause determination unless the defendant is

actually liable. See Stewart v. Wulf, 85 Wis. 2d 461, 476, 271 N.W.2d 79, 85 (1978). Thus, "it is

generally better procedure to submit negligence and cause-in-fact issues to the jury before addressing

legal cause." Id., at 654, 517 N.W.2d at 443. It must be emphasized that public policy considerations

are an aspect of legal cause, not a substitute for a cause-in-fact determination. See Bowen, 183 Wis.

2d at 443, 517 N.W.2d at 439.

       In Alvarado v. Sersch, 2003 WI 55, 262 Wis.2d 74, 662 N.W.2d 350, the Wisconsin Supreme

Court overturned a circuit court’s premature grant of summary judgment on public policy grounds.

That case involved allegations of negligence against a landlord and property management company

that failed to remove a fireworks device left in a unit or to notify the new tenant of the device.

Plaintiff, thinking it was a candle, lit it, causing injury. The circuit court granted summary judgment

on public policy grounds and this Court affirmed. By a 4-2 vote, the Supreme Court reversed. The

court noted that “[this] is not one of those simple cases where public policy can be used to limit

liability before a finding of negligence.” Id., ¶ 15, 262 Wis. 2d at 82, 662 N.W.2d at 354.

       It continued, “Findings as to actual negligence, damages and the causal relationship between

them would be material and helpful in evaluating the public policy considerations.” Id., ¶ 25, 262

Wis. 2d at 87, 662 N.W.2d at 356. It noted that “Neither the court of appeals nor the circuit court had



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the benefit of a full presentation of facts or of a jury’s verdict on negligence before limiting liability.”

Id., ¶ 28, 262 Wis. 2d at 88, 662 N.W.2d at 356.

         In its motion, Defendant seeks dismissal of the case on the pleadings, not after trial, let alone

discovery. There are no facts available to the court to weigh using the Bowen factors. If there is a

public policy defense to the Plaintiffs’ claims, it should be presented only after the facts as to the

Defendants’ culpability, and the damages suffered by the Plaintiffs, can be fully presented to the

court.

         Even if the case was in a procedural posture to perform a public policy analysis, the

defense should be rejected. In Bowen, the Wisconsin Supreme Court held: “the court determines

whether considerations of public policy relieve the defendant of liability in a particular case.” Id

at 655. The public policy considerations are:

                (1) whether the injury is too remote from the negligence; (2) whether the
                injury is wholly out of proportion to the culpability of the negligent
                tortfeasor; (3) whether in retrospect it appears too extraordinary that the
                negligence should have brought about the harm; (4) whether allowance of
                recovery would place an unreasonable burden on the negligent tortfeasor;
                (5) whether allowance of recovery would be too likely to open the way to
                fraudulent claims; or (6) whether allowance of recovery would enter a
                field that has no sensible or just stopping point. Id.

         The court in Bowen stated “when it would shock the conscience of society to impose

liability, the courts may hold as a matter of law that there is no liability.” Id. In the instant case, it

would hardly shock the conscience of society to hold the Tomah VA accountable for failing to

provide safe and adequate healthcare to the veterans of this country’s armed forces.

         In Bowen, the court considered whether public policy barred a bystander claim for

negligent infliction of emotional distress where the Plaintiff witnessed the aftermath of an

automobile accident in which her son was killed. Id at 631. The court found that to hold the

negligent driver responsible for the plaintiff’s emotional injury was neither too remote, nor out of


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proportion to his allegedly negligent driving, nor did it appear too extraordinary that such

negligence would have brought about the emotional harm. Id at 659. The court reasoned that it

is not unusual for a parent to suffer severe emotional distress in those circumstances. Id. In this

case, as in Bowen, it is not too remote to consider that an ongoing breach of infection control

standards would place the Plaintiffs and the Putative Class Members at risk of infection with

deadly viruses, and it is not out of proportion with the Defendant’s negligent conduct to hold the

Defendant responsible. Further, it was not too extraordinary that the Defendant’s negligence

would bring about the Plaintiffs’ and the Putative Class Members emotional distress. In fact, it

was foreseeable. Finally, it is not unusual for someone to suffer severe emotional distress upon

learning that they may have been infected with a deadly virus.

       The court in Bowen went on to hold that allowing the plaintiff to recover for her severe

emotional suffering, under the circumstances, did not place an unreasonable financial burden on

the alleged tortfeasor; that the circumstance guaranteed the geniuses of her claim, and that;

allowing her to recover did not raise the “specter of unlimited liability to tortfeasors. Although

discovery in the present case has not yet commenced, it is clear at this early stage that, as in

Bowen, permitting the Plaintiffs’ claims will not place an unreasonable financial burden on the

Defendant. Instead, it will prompt the Defendant to follow infection control standards in the

future. Further, the circumstances of this case guarantee the genuineness of Plaintiffs’ claims

where infection control standards were breached and the Defendant admitted that the Plaintiffs

were at risk for infection with deadly viruses. D.E. 1 at 3, Exhibit C. Finally, permitting these

claims will not raise the specter of unlimited liability, it will permit claims where there is an

actual breach of the standard of care and an acknowledged risk of infection with deadly viruses.

       For more than 20 years, Wisconsin courts have consistently applied the Bowen public

policy factors in negligent infliction of emotional distress cases to establish the authenticity of the

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claim an ensure the fairness of the financial burden placed on the negligent defendant. See Bowen

655. In McKay-Davis, the court considered the claims of a mother and daughter who sought

damages for the negligent handling of their relative’s remains. The Court found that the defendant

mortuary did not owe the plaintiffs a fiduciary duty, but did find that the duty of ordinary care

was breached when the defendant failed to require a signature upon delivery of the remains. Id

830 F. Supp. at 655. In Wisconsin, an act or omission is negligent if the actor should reasonably

have foreseen a resulting injury. McKay-Davis at 654. The court found that the plaintiffs had

stated a claim for negligent infliction of emotional distress and after considering the Bowen public

policy factors deferred ruling on them until the resolution of liability at trial.

         The court also applied the Bowen public policy factors in Camp. In that case, a child “who

was threatened with a feces-covered cattail, and who witnessed a minor fatally injure his dog,

brought suit against the family of the minor alleging negligent infliction of emotional distress

under the theory of negligent supervision. Id 295 Wis. 2d at 717.The court found that the child

did not have a bystander claim for negligent infliction of emotional distress as a result of

witnessing the fatal injury to his dog, but did have a direct claim for negligent infliction of

emotional distress as a result of having been chased and threatened with a feces-covered cattail.

Id at 725-726.The court remanded the case to the Douglas County Circuit Court, where the trial

court held that the plaintiff had stated a claim for negligent infliction of emotional distress under

Wisconsin law. See the court’s July 30, 2008 Order in Camp ex rel. Peterson v. Anderson,

Douglas County Circuit Court Case No. 02-CV-29. It applied the Bowen public policy factors and

permitted the claim to proceed towards a trial on the merits.1 Id.



         1
            See also Day v. Spectrum Brands Holdings, 2015 WL 6143481(W.D. Wis. 2015) where this Court applied
the Bowen factors to preclude the claim of a plaintiff who alleged that the operating instructions provided along with
his electric shave were inaccurate. Id at *1.

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       In this case, the Defendant told the Plaintiffs that “infection control standard weren’t

followed” during their dental procedures; that the Defendant has consulted with “infection control

experts”; to come in “as soon as possible” for blood testing, and; that they may have been

exposed to infection with Hepatitis B, Hepatitis C and HIV. See D.E. 1, Exhibit C. However, the

Defendant now characterizes the Plaintiffs’ claims of severe emotional distress as spurious and

argues that there was no scientific basis for the Plaintiffs’ fears. D.E. 9 at 14. The Defendant

analogizes this case to Babich v. Waukesha Memorial Hospital, 205 Wis. 2d 698, 556 N.W.2d

144 (Ct. App. 1996). D.E. 9 at 11.

       In Babich, the plaintiff was stuck with a hypodermic needle that was mistakenly left in her

bed linens. Id at 701. She feared that she would contract AIDS based on knowledge she gathered

from the public media. Id at 703. The defendant argued that her fears were unreasonable and that

her claims should be dismissed on public policy grounds. Id. The court began by examining what

it termed “needle stick cases,” and found that these cases generally arise when a plaintiff is

“accidentally and unexpectedly wounded by a needle.” Id. The court examined whether the public

policy factors espoused in Bowen barred the plaintiff’s claims and adopted a “proof of

contaminated source” standard for “needle stick cases.” Id. This rule requires “plaintiffs seeking

compensation for emotional distress arising out of needle stick injuries (and related puncture

wounds) to prove that the device had previously been exposed to a contaminated source. Id at

705-706.

       The court applied the Bowen public policy factors and determined that the plaintiff’s

injuries were out of proportion to the defendant’s potential culpability. Id at 707. It reasoned that

even if the defendant was “carless in its handling of such needles, it was not recklessly

disregarding it patients safety because such needles do not pose a significant health risk.” Id. Next

it found that allowing the claim to move forward would place an unreasonable burden on the

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future defendants. Id. “If we were to impose liability on hospitals...they would instigate

precautions to prevent such injuries…such precautions would be a waste of resources…because

those extra dollars would not improve overall patient safety.” Id at 708. Finally, the court found

that permitting the plaintiff to pursue her claim would expose the courts to more “fear of AIDS”

or “AIDS phobia” claims with scientifically unfounded fears and that these could even occur in

other contexts such as in retail stores.

        Babich is clearly distinguishable from the instant case. In Babich, the plaintiff feared

contracting AIDS based on information she gathered from the public media. That fear was not

based on scientific evidence and was found to be unreasonable.2 The plaintiff in Babich “could

only prove that she was punctured by an errant needle and she was in the hospital.” Id at 708.

Here, the Defendant told the Plaintiffs and Putative Class Members that “infection control

standard weren’t followed” during their dental procedures. D.E. 1, Exhibit C. It conducted a risk

assessment and consulted with “infection control experts.” D.E. 1 at 4, Exhibit C. The Plaintiffs

and Class Members were told to come in “as soon as possible” for blood testing, and that they

may have been exposed to infection with Hepatitis B, Hepatitis C and HIV. D.E. 1, Exhibit C.

Unlike the plaintiff in Babich, the Plaintiffs’ fear certainly was reasonable. It was based on

information provided by the Defendant after it conducted a risk assessment and consulted with

infection control experts. D.E. 1 at 4, Exhibit C.

         Babich is further distinguishable because in that case there was an “accidental and

unexpected wounding” with a needle. Babich at 701. Here, by contrast, the Plaintiffs allege that

the infection control standards established by the American Dental Association, the Occupational

Safety and Health Administration, the Center for Disease Control and Prevention, and the


2
 See Alsteen v. Wauleco, Inc., 335 Wis. 2d 473 (Wis. Ct. App. 2011) “The court did not suggest that the contaminated
source rule could apply in non-needle stick cases.” Id at 483. The issue was whether public policy barred her emotional
distress claim because her fear of HIV infection was unreasonable.
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Department of Veteran’s Affairs were breached for more than a year. D.E. 1 at 3-5. The court in

Babich found that the plaintiffs injuries were out of proportion to the defendant’s culpability as it

was not “recklessly disregarding its patient’s safety.” Id at 707. The Plaintiffs in this case allege

that the Defendant recklessly disregarded the safety of hundreds of its patients. D.E. 1 at 3. The

court in Babich expressed concern that permitting the plaintiff’s claim would place an

unreasonable burden on future defendants, and cause them to divert resources away from patient

safety to prevent liability for needle sticks. Babich at 707-708. In this case, it would not place an

unreasonable burden on the Defendant to ensure that it adheres to infection control standards and

provides safe and adequate healthcare for veterans of our country’s armed forces. Finally,

permitting the Plaintiffs’ claims would not create the flood of “AIDS phobia” cases that the

Babich court feared back in 1996. Rather, it would permit claims in which plaintiffs have a

genuine fear of having been infected with deadly viruses. Public policy should not bar the

Plaintiffs claims. Rather, it should favor adherence to infection control standards and should favor

safe and adequate healthcare for this country’s veterans.

         The Defendant states in its motion that the Plaintiffs’ claims fail because they have not

alleged a “contaminated source” as required by Babich. D.E. at 11. Incidentally, Babich did not

require the plaintiff to allege a contaminated source; it required her to prove it. See Babich at 709.

In any event, there are several problems with this argument. First, Babich only applied to needle

stick cases and this is not a needle stick case. 3 The Plaintiffs in this case do not allege to have

been stuck with a needle. See D.E. 1.They allege to have been exposed to the risk of infection

during their dental procedures as a result of the Defendant’s employee not following basic

infection control practices such as hand washing and wearing personal protective equipment and


3
 The Defendant cites to Babich as stating that the rule can apply in a variety of contexts, however, see Alsteen at 483.
“Thus, the court’s “variety of contexts’ statement referred to the fact that needle stick injuries can arise outside of the
healthcare context. The court did not suggest that the contaminated source rule could apply in non-needle stick cases.”
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the improperly re-useing single use dental burs. See Id at 3. See also Alsteen v. Wauleco, Inc.,

2011 WI App 105, 335 Wis. 2d 473, 802 N.W.2d 212. “The court did not suggest that the

contaminated source rule could apply in non-needle stick cases.” Id 335 Wis. 2d at 483.

       Second, in order to state a claim for relief, the Plaintiffs’ Complaint only needs to give

the Defendant a fair notice of the nature of the claims against it and be ‘plausible on its face’ as

required by Iqbal and Twombly. See Bausch v. Stryker Corp., 630 F.3d 546, 559 (7th Cir. 2010).

The Seventh Circuit has repeatedly emphasized that aside from those few claims specified in Fed.

R. Civ. P. 9(b), there are no heightened rules of federal pleading. See Schwartz v. Bay Industries,

Inc., 274 F. Supp. 2d 1041, 1051 (E.D. Wis. 2003) (citing Tierney v. Vahle, 304 F. 3d 734 (7th

Cir. 2004)). No more is required than Rule 8’s notice pleading minimum. Schwartz at 1051, citing

Alvarado v. Litscher, 267 F. 3d 648, 651 (7th Cir. 2001). Here, the Plaintiffs specifically alleged

that they were exposed to the risk of infection with deadly viruses, they attached Defendant’s

letter admitting as much and laid out the facts supporting their claims. See D.E. 1. At this stage no

further showing is required.

       In crafting its argument, the Defendant ignores the breaches of basic infection control

such as hand washing and the use of personal protective equipment and focuses instead on the re-

use of dental burs, which it most likens to needle sticks. D.E. 9 at 15. It argues that the Plaintiffs

fail to allege that the dental burs were contaminated and that the Plaintiffs fail to allege that the

dental burs were a viable means of transmitting viruses. Id. Again, the Plaintiffs make it clear in

their Complaint that they were exposed to the risk of infection with deadly viruses, D.E.1at 3, a

fact which the Defendant admitted in its notification letter but now apparently denies. See D.E. 1,

Exhibit C. Further, even Babich didn’t require the plaintiff to prove that the needle in her case

was actually contaminated, (i.e. that the HIV virus was present on the needle); it required her to

prove that it came from a contaminated source or was exposed to a contaminated source. See

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Babich at 706. “requiring a needle stick victim to offer proof that the needle came from a

contaminated source strikes a proper balance…” Compare e.g. Majca et al v. Beekil, 701 N.E.2d

1084, 1091 (Ill. 1998) requiring the plaintiffs to allege actual exposure to HIV, and K.A.C., et al.,

v. Beson, 527 N.W.2d 553, 557 (Minn. 1995) requiring actual exposure to HIV in order to satisfy

the zone of danger test.4

        Nevertheless, this case is still at the pleading stage. The Plaintiffs’ Complaint “need not

narrate all relevant facts or recite the law; all it has to do is set out a claim for relief.” See

Camasta v. Jos. A. Bank Clothiers, Inc., 761 F. 3d 732 (7th Cir. 2014) (citing Hrubec v. Nat’l R.R.

Passenger Corp., 981 F. 2d 962, 963 (7th Cir. 1992)). The Defendant would require this Court to

apply a heightened pleading standard. However, the ordinary notice pleading standards of Rule 8,

as clarified by Twombly and Iqbal, do not require the application of a heightened pleading

standard. See Twombly at 559.

        The Defendant goes on to argue that the Plaintiffs “allege that all class members tested

negative, which if anything, indicates that the dental burs were not contaminated.” D.E. 9 at 15.

Here the Defendant misstates what was actually alleged. First of all, in drafting their Complaint

Plaintiffs elected not to guess where Dr. Schiller’s dental burs came from or where they were

used prior to him bringing them to the Tomah VA. Second, the Plaintiffs allege that the 592

veterans who were eligible for class inclusion tested negative for “newly acquired active viral

infections.” D.E. 1 at 5. Some of the 592 may have had a pre-existing virus but would still fit the

class definition due to their fear of contracting other viruses (e.g. someone infected with Hepatitis

B would still suffer severe emotional distress upon learning that they may have been infected with

HIV). In any event, the Plaintiffs did not allege that all of the 592 veterans who were eligible for

4
  See also Vallier v. Louisiana Health Systems, Inc., 722 So. 2d 418 ( La. App. 3rd Cir. 1998) where “The hospital
performed no tests to determine if indeed there were any contagions present and accordingly, Plaintiff had no way of
proving exactly what was or was not present on the instruments. Such a burden should not be placed on a patient who is
very likely in the worst position to arrive at such proof absent actually contracting the virus.” Id at 421.
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class inclusion were virus free, and at the pleading stage the they only need to state a claim for

relief that is “plausible on its face” as required by Iqbal and Twombly.” Bausch v. Stryker Corp.,

630 F.3d 546, 559 (7th Cir. 2010).

       The Defendant draws comparisons between this case and Majca and K.A.C., in which the

plaintiffs also received notification letters advising them of their risk of infection. D.E. 9 at 14.

However, in those cases, there was no breach of infection control standards and no breach of the

standard of care. Compare with Descoteau v. U.S., 2009 WL 1491010 (D. Me 2009) permitting

emotional distress claim where plaintiff received a notification letter advising him that devices

used to perform prostate biopsies were not adequately sterilized or disinfected; Beville V. Olean

General Hospital, 124 A.D. 3d 1412 (N.Y. 2015) permitting emotional distress claim where the

plaintiff received a letter advising her that insulin pens may have been improperly re-used on

multiple patients; Alvarado v. U.S., 2011 WL 13220755 (S.D. Fla. 2011) permitting emotional

distress claims for patients who had an un-sanitized colonoscope used during their procedure and

later received a notification letter; Spann v. U.S., 2012 WL 3776684 (S.D. Fla. 2012) permitting

emotional distress claims arising from the same circumstances as Alvarado; Vallier v. Louisiana

Health System, 722 So. 2d 418 (La. App. 3rd Cir. 1998) permitting claim for emotional distress

where the instruments used during the plaintiff’s surgery were not properly disinfected and she

was later notified; Andrew Frank et al., v. Broward General Medical Center, Fla. 17th Circuit

Case No. 10-25040 CACE (02) permitting claims for emotional distress and grating class

certification where plaintiffs received a notification letter advising that saline bags had been re-

used on multiple patients during chemical stress tests.

       The Defendant cites to a string of cases pulled from the decisions in Majca and the

Pendergist v. Pendergrass, 961 S.W. 2d 919 (Mo. Ct. App. 1998) and inserts them into its motion

as support for its argument that this Court should apply an “actual exposure” requirement in

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Wisconsin. But Majca and Pendergass were decided in the 1990s and the cases to which they cite

are even older. Some of these jurisdictions require plaintiffs to adhere to the “impact rule” or the

“zone of danger” or “physical injury requirement” which may constrain those court’s decisions

and are no longer good law in Wisconsin. See Bowen at 652 providing “the zone of danger

doctrine…while it appears to ally the court’s apprehension of opening the door to fraudulent

claims…its rigid application prevents redress in deserving cases. Its companion rules for fear of

one’s own safety and physical manifestation of emotional distress have the same effect.” See also

K.A.C., at 559 (confirming Minnesota’s adoption of the “zone of danger rule”). But those cases

are of no import as the substantive law of Wisconsin applies in this case.

II. The Plaintiffs Have Sufficiently Alleged Severe Emotional Distress

       In its motion, the Defendant argues that the Plaintiffs have failed to plausibly allege

“severe” emotional distress. D.E. 9 at 17. It states that Plaintiffs only offer “threadbare recitals of

severe emotional distress without any “factual enhancement” to render them possible. Id. In their

Complaint, the Plaintiffs allege that they received substandard dental treatment which breached

infection control standards. D.E. 1 at 3; That the Defendant completed a risk assessment and

recognized that the Plaintiffs and Putative Class Members were at risk of having been infected

with deadly viruses such as Hepatitis B, Hepatitis C, and HIV. Id at 4; That the Plaintiffs received

a letter from the Defendant advising them to come in for blood testing “as soon as possible.” Id at

4, Exhibit A at 4; And that during the time the Plaintiffs and Putative Class Members waited for

their blood test results they were forced to consider that they may have been infected with a

deadly virus, may die as a result of having been infected, and may have unknowingly infected

their loved ones with deadly viruses. Id at 5. At this stage of the litigation, the Plaintiffs have

properly pled all that is required by Fed. R. Civ. P. 8.



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        “Rule 8 reflects a liberal notice pleading regime, which is intended to ‘focus litigation on

the merits of a claim’ rather than on technicalities that might keep plaintiffs out of court.” See

Sheikh v. Grant Regional Health Center, 2012 WL 2366232 (W.D. Wis. 2012) (citing Brooks v.

Ross, 578 F.3d 574, 580 (7th Cir. 2009)). In Sheikh, this Court found that the plaintiff plausibly

alleged severe emotional distress where he alleged that false and disparaging information

published about him on a national database precluded him from finding employment in his

chosen profession. Sheikh at *5. In the instant case, it is certainly plausible that someone would

suffer severe emotional distress upon learning that they may have been infected with a deadly

virus. The Defendant knew it was plausible when it sent out notification letters which stated in

part “As the Acting Medical Center Director, let me sincerely apologize for the concern that this

notification may bring to you and your family.” D.E. 1, Exhibit C.

       The Defendant makes the additional argument that “none contend that their emotional

response was so extreme that it affected their relationships.” D.E.9 at 17-18. However, the

Plaintiffs, having already laid out the factual basis for their claims, specifically alleged that they

“were forced to consider that they may have unknowingly infected their loved ones with a virus.”

D.E. 1 at 5. It is absurd to suggest that the fear of having transmitted a deadly virus to a family

member would not affect the Plaintiffs’ relationships.

III. The Putative Class Members Have Exhausted Their Administrative Remedies

       The Defendant argues in its motion that the Court should deny redress to hundreds of

veterans who may not have the resources to bring claims on their own. The Defendant argues that

the Putative Class Member’s claims should be dismissed because they have purportedly failed to

exhaust their administrative remedies pursuant to 28 U.S.C. §2675(a). D.E. 9 at 18. 28 U.S.C.

§2675(a) provides:



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                 An action shall not be instituted upon a claim against the United States for
                 money damages for injury or loss of property or personal injury or death
                 caused by the negligent or wrongful act or omission of any employee of
                 the Government while acting within the scope of his office or
                 employment, unless the claimant shall have first presented the claim to the
                 appropriate Federal agency.

          The Defendant cites McLaughlin on Class Actions §2:24, numerous older decisions and

decisions from other jurisdictions for the proposition that “A district court does not have

jurisdiction over putative class members who have not complied with FTCA’s administrative

claim… requirements.” Id at 20. However, the Putative Class Members have exhausted their

administrative remedies. See Hoover v. Szymanski, 2017 WL 1380638 (W.D. Wis. 2017) citing

Khan v. U.S., 808 F. 3d 1169 (7th Cir. 2015) “The Seventh Circuit applies this requirement

loosely, requiring only that the written notification specify “facts plus a demand for money.” Id at

1173. See also D.E. 1, Exhibit A at 2 (providing the factual support for putative class member’s

claims and demanding money damages). Further, the Seventh Circuit no longer treats

administrative exhaustion as a jurisdictional prerequisite. See Johnson v. U.S, 2016 WL 3387156

(E.D. Ill. 2016) citing Smoke Shop, LLC v. U.S., 761 F.3d 779 (7th Cir. 2014) “This is not a

jurisdictional prerequisite, but rather a condition precedent to the plaintiff’s ability to prevail.” Id

at 786.

          The 7th Circuit has made clear that it no longer treats administrative exhaustion under 28

U.S.C. §2675(a) as a jurisdictional pre-requite to suit, therefore this Court does not lack

jurisdiction over the Putative Class Members claims. See Ortega v. U.S., 2016 WL 8732321

(N.D. Ill. 2016) citing Smoke Shop, LLC v. U.S., 761 F.3d 779, 786 (7th Cir. 2014):

                  “Several circuits consider section 2675(a)’s exhaustion requirement to
                 define the court’s subject matter jurisdiction over an FTCA action
                 (citations omitted). The U.S. Court of Appeals for the Seventh Circuit, by
                 contrast, has struck a different course and no longer treats §2675(a) as a
                 jurisdictional prerequisite.” Id at 786.


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See also Glade ex rel. Lundskow v. U.S., 692 F. 3d 718 (7th Cir. 2012) providing: “Obviously the

federal courts are authorized to decide suits under the Federal Tort Claims Act; indeed, no other

court system is. Id at 723. Since the requirement of exhaustion is not jurisdictional, it can be

waived, or forfeited, or otherwise forgiven. Id.

         The Defendant cites to Commonwealth of Pennsylvania v. National Flood Insurers, 520 F.

2d 11 (3rd Cir. 1975) for the proposition that “neither the FTCA nor the regulations…make

provisions for the filing of administrative claims against the United States on behalf of a class.” Id

at 24.    This is one of many cases cited by the Defendant which considered exhaustion a

jurisdictional pre-requisite, however the court’s reasoning in that case is applicable here. 5 The

court held:

                   “There is no conflict with 28 U.S.C. §2674 (United States to be liable as a
                  private individual under like circumstances) since by statute unless a tort
                  claims is first presented to the appropriate administrative agency the court
                  lacks subject matter jurisdiction over the claim asserted against the United
                  States. Thus the United States stands in no different posture than a private
                  individual against whom liability is sought to be asserted, but where the
                  court lacks subject matter jurisdiction.” Id.

         Following the reasoning espoused by National Flood Insurers, the United States stands in

the same posture as a private individual and, here in the Seventh Circuit, the Court has

jurisdiction over the putative class members’ claims. According to this reasoning, the Plaintiffs

should be permitted to assert class claims against the United States as they would against any

private individual.

         With regard to the Commonwealth’s claim of authority to present a class claims pursuant

to Fed. R. Civ. P. 23, the court held:


5
 The Defendant also relies on Cary et al., v. U.S., 2007 WL 9683542 (S.D. Cal. 2007), another case which also holds
administrate exhaustion to be jurisdictional, for the proposition that the named Plaintiffs are asserting class claims on
behalf of Putative Class Members who may not want to participate in this suit. D.E. 9 at 23-24.However, this
argument fails to take into account that Fed. R. Civ. P. 23 allows a putative class member to opt out of a suit.

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               “Both 28 U.S.C. § 2675 and Fed. R. Civ. P. 23 are separate legislative
               enactments which, as we have indicated, are not inconsistent with each
               other, but rather can and should be construed harmoniously. Thus, if for
               no other reason than the failure of the individual claims to satisfy the
               jurisdictional requisites of the Federal Tort Claims Act, the
               Commonwealth is precluded from representing individual claimants in a
               class action.” Id at 24.

       In this case, the Court has jurisdiction and the United States can be sued just like any

private individual. See Lundskow at 723. (Since the requirement of exhaustion is not

jurisdictional, it can be waived, or forfeited, or otherwise forgiven). See also 28 U.S.C §2674.

“The United States shall be liable, respecting the provisions of this title relating to tort claims, in

the same manner and to the same extent as a private individual under like circumstances, but shall

not be liable for interest prior to judgment or for punitive damages.” Therefore, the Plaintiffs

should be permitted to assert class claims.

       The Defendant points to 28 C.F.R. §14.2, and argues that the written notification provided

by the Plaintiffs and Putative Class Members does not qualify as a claim for the purpose of

administrative exhaustion. D.E. 9 at 19. 28 C.F.R. §14.2 defines a claim for the purposes of

2675(a) as: (1) notification of the incident; (2) a demand for money damages in a sum certain; (3)

the title or legal capacity of the person signing; and (4) evidence of authority to present a claim on

behalf of the claimant as agent, executor, administrator, parent, guardian or other representative

(emphasis added).

       “The Seventh Circuit views these requirements not as jurisdictional but as definitional…”

See Slapak v. U.S., 2018 WL 706935 (S.D. Ill. 2018). “Thus there is room to tolerate technical

shortcomings as long as the proper agency had the opportunity to settle the claim for money

damages before the point of suit.” Id. See Smoke Shop, LLC at 787. (Providing that would be

FTCA plaintiffs do not have to comply with “every jot and title” of the regulation). See also Khan



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at 1173. “All that must be specified therefore is facts plus a demand for money; if those two

things are specified, the claim encompasses any cause of action fairly implicit in the facts.”

         In this case, the Plaintiffs’ state that the Putative Class Members “were negligently

exposed to the risk of infection from Hepatitis B, Hepatitis C, and HIV during their dental

procedures at the Tomah VA Medical Center. D.E. 1, Exhibit A at 1. The Plaintiffs also demand

$50,000.00 as compensation for the thier injuries and $50,000.00 on behalf of each of the Putative

Class Members for a total sum certain of $29,600,000.00.” Id. The Plaintiffs’ presented facts and

demanded money damages, which is all that the Seventh Circuit requires.

         The Plaintiffs’ specifically informed the Defendant that they were bringing claims on their

own behalf and on behalf of the Putative Class Members. Id. To the extent that the Defendant

argues the Plaintiffs didn’t provide evidence of their authority, it is important to note that none

was requested. Compare e.g., Kanar at 531 where an attorney’s failure to comply with an

agency’s request that he provide proof of his capacity to represent the claimant hindered the

settlement process, with Slapak, where the Defendant did not call attention to the plaintiff’s lack

of proof of authority. Id at *5. In Slapak, the decedent’s relative lacked actual capacity to

represent his estate at the time she filed an administrative claim. Id. The court found that she was

eligible to be the administrator at all relevant times and her failure to be appointed before filing

her administrative claim was curable error. Id. She was later appointed administrator of the

decedent’s estate by the probate court. Id. As members of the defined class with standing to bring

this action, Plaintiffs are certainly eligible to represent the Putative Class Members. Any lack of

evidence of authority can be cured by their appointment as class representative pursuant to Fed.

R. Civ. P. 23.6


         6
           “The failure to provide evidence of capacity and authority with the original claim is not fatal if, upon
request from the agency appropriate documentation is provided and the settlement process is not frustrated.” Slapak
at *4. Here the Department of Veteran’s Affairs never requested that the plaintiffs provide evidence of their authority
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         The Defendant argues that a claim cannot be presented in an “attorney’s cover letter”.

D.E. 9 at 22. In Ortega, as in this case, the government argued that the written notice provided by

the plaintiff was not sufficient to constitute a claim. However, the court held:

                  “This is expressly contrary to Seventh Circuit precedent. See e.g., Khan,
                  808 F. 3d at 1171-72 (treating a letter complaining about treatment by
                  federal officers as a claim); Smoke Shop, 761 F. 3d at 787 (finding that
                  plaintiff’s Federal Rule of Criminal Procedure 41(g) motion “certainly
                  satisfied” three requirements of FTCA claim but failed to demand money
                  damages); 28 C.F.R. 14.2(a) (defining a claim as “an executed Standard
                  Form 95 or other written notification of an incident”)(emphasis
                  added)….the Seventh Circuit only requires that the government receive
                  notice of a claim with a demand for money damages in order to satisfy
                  section 2675(a)’s exhaustion requirement…” Id at *5.

         The Defendant also argues the Putative Class Members’ claims cannot be presented in one

document and that they must each exhaust their administrative remedies separately. D.E. 9 at 21.

It states, “the federal courts are in complete agreement that each member of a proposed class must

separately exhaust prior to institution of an FTCA action.” D.E. 9 at 22. For support it cites to

numerous older decisions from outside of the Seventh Circuit which take a much more formal

approach to administrative exhaustion and which still hold it to be a jurisdictional prerequisite.

See Id at 20. The Defendant also cites to In re Katrina Canal Breaches Conso. Litig., 2009 WL

9683542 (E.D. La. 2009) for support. Id. However, in that case, the court held:

                   “a class action can be maintained under the FTCA if each of the claimants
                  have individually satisfied all of the jurisdictional requirements. A class
                  action can also be maintained if a class claim has been filed which names
                  the individual claimants, assets and establishes authority of the named
                  claimant (or claimants to present claims on behalf of the unnamed class
                  members, states the total amount of the claim for the entire class and
                  otherwise satisfies the jurisdictional requirements. In re Katrina at *5
                  citing Lunsford v. U.S., 570 F.2d 221, 227(8th Cir. 1977)




to represent the class and as is clear by its argument, never intended to settle these claims. It cannot now claim that
the settlement process was frustrated.

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         In this case, the Plaintiffs written notification stated that the class consists of the 592

veterans who received the Defendants’ notification letter informing them of their exposure the

risk of infection with deadly viruses. D.E. 1, Exhibit A at 1. It advised the Defendant that it was

already in possession of the names, contact information and medical records for each of these

class members. Id at 2. It stated that the claims were being brought by the Plaintiffs individually

and on behalf of the Putative Class members. Id. And it stated the total amount of the demand for

the class. Id at 2.       Some of the requirements espoused by the court in In re Katrina for

administrative exhaustion are not required in the Seventh Circuit, or are not so strictly construed,

such as evidence of authority.7 However, it is clear from the court’s ruling that class claims can be

presented in one document. See also Salt River Pima-Maricopa Indian Community v. U.S., 266

F.R.D. 375 (D. Ariz. 2010) (strictly construing administrative exhaustion as jurisdictional, but

still granting class certification where the President of the community’s letter satisfied the

“minimal notice” required to satisfy the administrative exhaustion for the class; written notice and

a value on the claim.) Id at 377.

         The Defendant cites to Barbee v. U.S., 2005 WL 2429820 (W.D. Wis. 2005) for the

proposition that each claimant must separately exhaust their administrative remedies. D.E. 9 at

21. In Barbee, the government obtained dismissal of the injured plaintiff’s wife as a party because

she had not filed a claim for consortium. Id at *3. However, Barbee is distinguishable from the

instant case. In Barbee this Court held that administrative exhaustion is jurisdictional, which is

longer good law in the Seventh Circuit. Id. Further, the injured plaintiff’s claim never mentioned



7
  See Smoke Shop, LLC at 788. “By its terms the regulation demands slightly more. See 28 C.F.R. §14.2(a) (including
the additional requirement that the person signing establish her title and authority to pursue the claim.) In Kanar we
reasoned that §2675(a) does not require would be FTCA plaintiffs to comply with “every jot and tittle” of the
regulation. 118 F. 3d at 530. So long as the proper agency had the opportunity to settle the claim for money damages
before the point of suit, we said, technical deficiencies in the administrative claim could well be a case of “no harm,
no foul.”

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his wife’s consortium claim, and his wife never presented written notification of a claim. Id. So in

Barbee a claim was never presented. In Ortega, a more recent case, the Plaintiff’s mother failed

to include her own name in the Plaintiffs claim form, but was permitted to proceed with her own

claim where she alleged facts and made a demand for money. Id at *6. The court held that “to

find otherwise would be endorsing pure formalism.” Id. A claimant need only specify ‘facts plus

a demand for money; if those two things are specified, the claim encompasses any cause of action

fairly implicit in the facts.” Id. Citing Khan at 1173. Here the Putative Class Members claims

have properly been presented. The facts of the incident were fully described and demand for a

sum certain was made. D.E. 1, Exhibit A.

       In Smoke Shop, LLC, the court held: “So long as the proper agency had the opportunity to

settle the claim for money damages before the point of suit, we said technical deficiencies in the

administrative claim could well be a case of “no harm, no foul.” Smoke Shop, LLC at 788. In

evaluating whether settlement was hindered or thwarted, courts look at extrinsic evidence

regarding how the claim was handled pre-suit. See Kanar at 531. See also Slapak at *5.

       The court in Smoke Shop, LLC, found that the plaintiff’s rule 41(g) motion satisfied all of

the requirements for a claim except the demand for money damages. Id at 787. It reasoned that

this omission would only be fatal if it can be said to have “hindered” or “thwarted” the settlement

process “that Congress created to preclude litigation.” Id. The court found that without an actual

claim for money damages the government could not make an informed assessment of the claim

and that the plaintiff may have led the government to believe that it was forgoing civil litigation.”

Id. Here, by contrast the class claim demands a sum certain and makes clear that the Plaintiffs and

the Putative Class Members are asserting negligence claims and seeking damages for emotional

distress. D.E. 1, Exhibit A at 1-2. The Plaintiffs’ written notification further states:



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                   “The Department of Veterans Affairs possesses the names, contact
                  information and medical records of each putative class member and is
                  capable of settling all of the putative class member’s claims. The named
                  claimants are willing to engage a third party administrator to provide
                  notification of a proposed settlement to each putative class member.” Id at
                  2.

         From a practical standpoint, the Defendant could have settled this case pre-suit. See Id. It

was provided with sufficient facts investigate the claims; it was provided with a demand for a

sum certain; and the Defendant already knew the identity of each Putative Class Member. Id. A

settlement figure could have been negotiated, notice to each Putative Class Member could have

been provided and the parties could have sought court approval for a class settlement that was fair

and adequate.8 But the Defendant did not want to settle these claims, individually or as a class. It

is clear from the arguments in its Motion to Dismiss that it believed these claims were spurious

and that it would prevail on the merits.9 Id. If there were any omission in the presentment of the

Putative Class Members claims they could not have thwarted settlement because the Defenant

clearly had no intention of settling.

         The foregoing notwithstanding, at this stage the Plaintiffs should not be required to prove,

or provide extrinsic evidence, that they have exhausted their administrative remedies. Fed R. Civ.

P. 9(a) provides:

                  “Except when required to show that the court has jurisdiction, a pleading
                  need not allege a party’s capacity to sue or be sued; a party’s authority to
                  sue or be sued in a representative capacity; or the existence of an
                  organized association of persons that is made a party”.

         It is clear that administrative exhaustion is not a jurisdictional requirement in the Seventh

Circuit. See Smoke Shop, LLC at 786. It is also clear that the Plaintiffs are not required to allege a


8
   Compare with Cary at *4 in which the Putative Class Members failed to present a claim and the court held
administrative exhaustion to be jurisdictional.
9
  See Ortega at *6 in which the court rejected the government’s argument that a more detailed claim would have allowed
it to consider settlement. “In addition, it appears that HHS did investigate Plaintiff’s claim and determined that it did not
want to settle with her because it believe it would prevail on the merits.” Id.
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capacity or authority to sue pursuant to Rule 9(a). Rule 9(c) further provides: In pleading

conditions precedent, it suffices to allege generally that all conditions precedent have occurred or

been performed. In their Complaint, the Plaintiffs properly alleged that “All conditions precedent

to the filing of this action have occurred, have been waived, or have otherwise been satisfied.”

D.E.1 at 2.

        WHEREFORE for all of the foregoing reasons, the Plaintiffs Request that this Court

 deny the Defendant’s Motion to Dismiss.


                                                             Respectfully Submitted,

                                                             By:

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